Case 9:10-cr-80149-KAM Document 903 Entered on FLSD Docket 08/20/2012 Page 1 of 5
  USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                                             Page 1 of 5




                                                   United States District Court
                                                               Southern District of Florida
                                                                  WEST PALM BEACH DIVISION

  UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE

  v.                                                                         Case Number - 9:10-80149-CR-MARRA-9

  STEVEN GOODMAN
                                                                             USM Number: 55224-018

                                                                             Counsel For Defendant: Edward Page, Esq.
                                                                             Counsel For The United States: Paul Schwartz, AUSA
                                                                             Court Reporter: Stephen Franklin
  ___________________________________



  The defendant pleaded guilty to Count One of the Superseding Information on April 30, 2012. The defendant is
  adjudicated guilty of the following offense:

         TITLE/SECTION                                        NATURE OF
            NUMBER                                             OFFENSE           OFFENSE ENDED                               COUNT
    18 U.S.C. § 371                                Conspiracy to defraud               March 2010                                 One
                                                   the United States
                                                   Government

  The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.

  Remaining counts are dismissed on the motion of the United States.

  It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change
  of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
  judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney
  of any material changes in economic circumstances.

                                                                                       Date of Imposition of Sentence:
                                                                                       8/17/12



                                                                                       ________________________________
                                                                                       KENNETH A. MARRA
                                                                                       United States District Judge

                                                                                       August 17, 2012
Case 9:10-cr-80149-KAM Document 903 Entered on FLSD Docket 08/20/2012 Page 2 of 5
  USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                                                  Page 2 of 5




  DEFENDANT: STEVEN GOODMAN
  CASE NUMBER: 9:10-80149-CR-MARRA-9


                                                                  PROBATION

  The defendant is hereby sentenced to probation for a term of Four (4) years as to Count One of the Superseding Information.

  The defendant shall not commit another federal, state or local crime.

  The defendant shall not unlawfully possess a controlled substance. T he defendant shall refrain from any unlawful use of a
  controlled substance. The defendant shall submit to one drug test within 15 days of release of placement on probation and at least
  two periodic drug tests thereafter, as determined by the court.

               The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

               The defendant shall cooperate in the collection of DNA as directed by the probation officer.


          If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
  Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as any additional
  conditions on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION

  1.           The defendant shall not leave the judicial district without the permission of the court or probation officer;
  2.           The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3.           The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4.           The defendant shall support his or her dependents and meet other family responsibilities;
  5.           The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
               acceptable reasons;
  6.           The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
  7.           The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
               controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8.           The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9.           The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
               of a felony, unless granted permission to do so by the probation officer;
  10.          The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
               any contraband observed in plain view by the probation officer;
  11.          The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
               officer;
  12.          The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
               permission of the court; and
  13.          As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
               criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
               the defendant’s compliance with such notification requirement.
Case 9:10-cr-80149-KAM Document 903 Entered on FLSD Docket 08/20/2012 Page 3 of 5
  USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                        Page 3 of 5




  DEFENDANT: STEVEN GOODMAN
  CASE NUMBER: 9:10-80149-CR-MARRA-9

                                                    SPECIAL CONDITIONS OF SUPERVISION

               The defendant shall also comply with the following additional condition(s) of probation:

  Association Restriction - The defendant is prohibited from associating with the codefendants while on
  probation/supervised release.

  Home Detention with Electronic Monitoring - The defendant shall participate in the Home Detention Electronic
  Monitoring Program for a period of 30 months. During this time, the defendant may not work, except for the first
  two weeks of his probation and shall remain at his place of residence except for activities approved in advance by
  his U.S. Probation Officer with any requested documentation. The defendant shall maintain a telephone at his place
  of residence without ‘call forwarding’, ‘call waiting’, a modem, ‘caller ID’, or ‘call back/call block’ services for the
  above period. The defendant shall wear an electronic monitoring device and follow the electronic monitoring
  procedures as instructed by the U.S. Probation Officer. The defendant shall pay for the electronic monitoring
  equipment at the prevailing rate or in accordance with ability to pay.

  Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a reasonable
  manner and at a reasonable time by the U.S. Probation Officer.

  Relinquishment of Licensure - Upon request of the appropriate regulatory agency, the defendant shall relinquish
  his/her license to said agency. The defendant is on notice that such relinquishment is permanent and will be
  considered disciplinary action.
Case 9:10-cr-80149-KAM Document 903 Entered on FLSD Docket 08/20/2012 Page 4 of 5
  USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                                                       Page 4 of 5




  DEFENDANT: STEVEN GOODMAN
  CASE NUMBER: 9:10-80149-CR-MARRA-9

                                                         CRIMINAL MONETARY PENALTIES


         The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule of
  Payments sheet.


                   Total Assessment                                    Total Fine                                     Total Restitution

                           $100.00                                       $25,000                                                $




  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
Case 9:10-cr-80149-KAM Document 903 Entered on FLSD Docket 08/20/2012 Page 5 of 5
  USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                                         Page 5 of 5




  DEFENDANT: STEVEN GOODMAN
  CASE NUMBER: 9:10-80149-CR-MARRA-9

                                                              SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

                A. Lump sum payment of $100.00 due immediately.


  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
  is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

                U.S. CLERK’S OFFICE
                ATTN: FINANCIAL SECTION
                400 NORTH M IAM I AVENUE, ROOM 8N09
                M IAM I, FLORIDA 33128-7716

  The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the U.S.
  Attorney’s Office are responsible for the enforcement of this order.




  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5) fine interest, (6) community restitution,(7) penalties, and (8) costs, including cost of prosecution and court costs.
